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  16       Individual NFL Clubs
  17

  18                            UNITED STATES DISTRICT COURT
  19                           CENTRAL DISTRICT OF CALIFORNIA
  20
           IN RE: NATIONAL FOOTBALL                    Case No. 2:15-ml-02668-PSG (SKx)
  21       LEAGUE’S “SUNDAY TICKET”
  22       ANTITRUST LITIGATION                        PROOF OF SERVICE OF
           ______________________________              DOCUMENTS FILED UNDER
  23                                                   SEAL
  24       THIS DOCUMENT RELATES TO:
           ALL ACTIONS
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   1                                  PROOF OF SERVICE
   2         I, the undersigned, declare:
   3         I am employed in Washington, D.C. I am over the age of 18 and am not a
   4   party to the within action; my business address is 2001 M St NW, 10th Floor,
   5   Washington, DC 20036.
   6         On August 30, 2024, I served the foregoing document(s) described as
   7   follows:
   8         1. The sealed Declaration Of Jenna H. Pavelec In Support Of NFL
   9              Defendants’ Application Under Local Rule 79-5 To File Documents
  10              Under Seal.
  11         2. The unredacted version of Exhibit B-1 to the Declaration Of Rakesh N.
  12              Kilaru In Support Of NFL Defendants’ Bill of Costs.
  13         3. The unredacted version of Exhibit B-3 to the Declaration Of Rakesh N.
  14              Kilaru In Support Of NFL Defendants’ Bill of Costs.
  15         4. The unredacted version of Exhibit B-6 to the Declaration Of Rakesh N.
  16              Kilaru In Support Of NFL Defendants’ Bill of Costs.
  17         5. The unredacted version of Exhibit B-9 to the Declaration Of Rakesh N.
  18              Kilaru In Support Of NFL Defendants’ Bill of Costs.
  19         6. The unredacted version of Exhibit B-10 to the Declaration Of Rakesh N.
  20              Kilaru In Support Of NFL Defendants’ Bill of Costs.
  21         7. The unredacted version of Exhibit B-13 to the Declaration Of Rakesh N.
  22              Kilaru In Support Of NFL Defendants’ Bill of Costs.
  23         8. The unredacted version of Exhibit B-16 to the Declaration Of Rakesh N.
  24              Kilaru In Support Of NFL Defendants’ Bill of Costs.
  25         9. The unredacted version of Exhibit B-18 to the Declaration Of Rakesh N.
  26              Kilaru In Support Of NFL Defendants’ Bill of Costs.
  27         10. The unredacted version of Exhibit B-20 to the Declaration Of Rakesh N.
  28              Kilaru In Support Of NFL Defendants’ Bill of Costs.
                                              1
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   1         11. The unredacted version of Exhibit B-22 to the Declaration Of Rakesh N.
   2             Kilaru In Support Of NFL Defendants’ Bill of Costs.
   3
       on the interested parties in this action by placing true copies thereof enclosed in a
   4   sealed envelope addressed as stated on the attached service list as follows:
   5
            BY MAIL:
   6       I am “readily familiar” with the firm’s practice of collection and processing
     correspondence for mailing. Under that practice, it would be deposited with the
   7 U.S. Postal Service on that same day with postage thereon fully prepaid at
     Washington, D.C. in the ordinary course of business. I am aware that on motion of
   8 the party served, service is presumed invalid if postal cancellation date or postage
     meter date is more than one date after date of deposit for mailing in affidavit.
   9
              BY PERSONAL SERVICE:
  10         I caused to be delivered such envelop by hand to the offices of the addressee.
  11          BY FEDERAL EXPRESS OR OVERNIGHT COURIER
  12          BY FAX:
             I served by facsimile as indicated on the attached service list.
  13
        XX BY ELECTRONIC MAIL:
  14         I caused said documents to be prepared in portable document format (PDF)
       for e-mailing and served by electronic mail as indicated on the attached service list.
  15

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  17   Executed on August 30, 2024, at Alexandria, VA.
  18          (State): I declare under penalty of perjury under the laws of the State of
       California that the above is true and correct.
  19
        XX (Federal): I declare that I am employed in the office of a member of the bar
  20   of this Court at whose discretion the service was made.
  21

  22          _ Jenna H. Pavelec _____         ________ /s/ Jenna H. Pavelec ____
             (Type or Print Name)                          (Signature)
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